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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

Terry Baker,                                 )
                                             )
       Plaintiff,                            )       Civil Action File No.:
                                             )
v.                                           )
                                             )
Hollis Cobb Associates, Inc.                 )       COMPLAINT WITH
d/b/a Patient Accounts Bureau,               )      JURY TRIAL DEMAND
                                             )
       Defendant.                            )


                           PRELIMINARY STATEMENT

      This action for damages is based upon the Defendant’s overt and intentional,

unlawful conduct in the furtherance of its efforts to collect a consumer debt. The

Defendant’s conduct is in violation of the Fair Debt Collection Practices Act

(FDCPA), 15 U.S.C. 1692 et seq. and the Georgia Fair Business Practices Act,

(GFBPA) O.C.G.A. 10-1-390 et seq.

                                       PARTIES

      1.     Plaintiff, Terry Baker, is a natural person who resides in Pike County,

Georgia.

      2.     Defendant, Hollis Cobb Associates, Inc. d/b/a Patient Accounts Bureau,

is a corporation formed under the laws of the State of Georgia and registered to do

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business in Georgia. Defendant may be served with process via its registered agent,

Michael B Cobb, 3175 Satellite Blvd, Suite 400, Duluth, GA 30096.

                              JURISDICTION AND VENUE

      3.     This Court has federal question jurisdiction over Plaintiff’s Fair Debt

Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq., claims pursuant to

28 U.S.C. § 1331 and 15 U.S.C. § 1692k(d). This Court has supplemental

jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367.

      4.     This Court has personal jurisdiction over Defendant because, inter alia,

Defendants frequently and routinely conducts business in the State of Georgia,

including the conduct complained of herein.

      5.     Pursuant to 28 U.S.C. § 1391, venue is proper in the Northern District

of Georgia because a substantial part of the events or omissions giving rise to the

claims occurred in this district.

      6.     Pursuant to LR 3.1B(3), venue is proper in Atlanta Division because

the Defendant maintains a registered agent in Gwinnett County which is in the

Atlanta Division.

                            FACTUAL ALLEGATIONS




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         7.    Plaintiff is allegedly obligated to pay a consumer debt arising out of a

series of medical visits and is therefore, a “consumer”, as that term is defined by 15

U.S.C. § 1692a(3).

         8.    Defendant’s principal business is the collection of consumer accounts

for its commercial benefit. Defendant regularly collects, or attempts to collect,

directly or indirectly, debts owed or due, or asserted to be owed or due, to a third

party.

         9.    Defendant uses interstate commerce and/or mail in its business in the

collection of consumer debts.

         10.   Defendant manages, and collects upon, thousands of consumer debt

accounts annually.

         11.   Defendant is, therefore, a “debt collector” as that term is defined by 15

U.S.C. § 1692a(6).

         12.   Plaintiff is permanently disabled and unable to work. As a result,

Plaintiff has fallen behind on a number of his bills.

         13.   Plaintiff attempted to get his financial affairs in order by contacting all

of his outstanding creditors so that he may prioritize payments in an attempt to get

out of debt and improve his credit score.




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       14.    In July of 2020, Plaintiff called Defendant to collect information on his

accounts.

       15.    When Plaintiff identified himself on the phone call, the Defendant’s

representative told Plaintiff the account was for several unpaid medical bills from

2019 and 2020.

       16.    During the course of the call, Plaintiff asked Defendant what would

happen if the Plaintiff was unable to pay all of the accounts.

       17.    Defendant stated that the accounts were not currently incurring any

interest or fees, but if Plaintiff did not make payment arrangements, the debt could

be sent to another collection agency who would charge interest and fees and report

the debt to Plaintiff’s credit report.

       18.    Nothing in the medical visits which served as the basis for the account

debts authorized or agreed to the charging of any interest or fees on the accounts.

       19.    Defendant’s statements that the account could be transferred to another

collection agency which would increase the amount of the debt by charging interest

and fees and harm Plaintiff’s financial well-being further by reporting negative

information to Plaintiff’s credit report were designed to intimidate, abuse, and harass

Plaintiff into making a payment on his accounts to Defendant.




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      20.    Plaintiff suffered direct and particularized harm by Defendant’s

misrepresentations and attempts to collect unauthorized fees as Plaintiff suffered

increase anxiety and worry about his ability to ever pay this alleged debt and get his

financial affairs in order.

      21.    Plaintiff incurred uncompensated time and expense to speak to counsel

about the Defendant’s false statements.

      22.    Defendant’s conduct contained communications which were false,

misleading, and deceptive in connection with the collection of a debt.

                               INJURIES-IN-FACT

      23.    The FDCPA provides consumers with “statutorily-created rights to be

free from ‘being subjected to false, deceptive, unfair, or unconscionable means to

collect a debt.’” McCamis v. Servis One, Inc., No. 8:16-CV-1130-T-30AEP, 2016

U.S. Dist. LEXIS 99492 (M.D. Fla. July 29, 2016); Church v. Accretive Health, Inc.,

654 Fed. Appx. 990, 2016 U.S. App. LEXIS 12414, 2016 WL 3611543 (11th Cir.

2016).

      24.    An injury-in-fact sufficient to satisfy Article III standing requirements

“may exist solely by virtue of statutes creating legal rights, the invasion of which

creates standing.” Church, at 993, quoting Havens Realty Corp. v. Coleman, 455

U.S. 363, 373, 102 S. Ct. 1114, 71 L. Ed. 2d 214 (1982).

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      25.    Violation of statutory rights are not a “hypothetical or uncertain” injury,

but one “that Congress has elevated to the status of a legally cognizable injury

through the FDCPA.” McCamis, at 4, citing Church, at 3.

      26.    Defendant is subjecting Plaintiff to false, deceptive, unfair, and

unconscionable means to collect the debt.

      27.    Defendant’s acts and omissions caused particularized harm to the

Plaintiff in that he has suffered worry and anxiety and took time and expense to

discuss his debt with counsel in response to the false statements.

      28.    Accordingly, through the suffering of actual damages and a violation

of Plaintiffs’ statutorily created rights under the FDCPA, Plaintiffs have suffered an

injury-in-fact sufficient to establish Article III standing.

                                      DAMAGES

      29.    As a result of the Defendant’s actions and/or omissions, Plaintiff has

suffered actual damages, including but not limited to the following:

      a.)    Being subjected to false, deceptive, unfair, and unconscionable debt

collection practices;

      b.)    Uncompensated time expended away from activities of daily living, to

confer with counsel regarding the Defendant's collection efforts; and,

      c.)    Anxiety and worry due to concerns about his financial affairs

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                              CAUSES OF ACTION

                                     COUNT I

  VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                              15 U.S.C. § 1692 et seq.

      30.    Plaintiff incorporates by reference paragraphs 1 through 29 as though

fully stated herein.

Violations of 15 U.SC. § 1692e and its subparts

      31.    15 U.S.C. §•1692e specifically prohibits the use of any false, deceptive,

or misleading representations or means in connection with the collection of any debt.

      32.    The use of “or” in § 1692e means a representation violates the FDCPA

if it is false or deceptive or misleading. Bourff v. Rubin Lublin, LLC, 674 F.3d 1238,

1241 (11th Cir. 2012).

      33.    The standard in determining the nature of any such representation is

that of the “least sophisticated consumer.” Its purpose is to protect "naive

consumers" with a minimal understanding of personal finance and debt

collection. LeBlanc v. Unifund CCR Partners, 601 F.3d 1185, 1194 (11th Cir. 2010).

      34.    Moreover, the least sophisticated consumer is not to be held to the same

standard as a reasonably prudent consumer. The least sophisticated consumer,

though not unreasonable, is "ignorant" and "unthinking," "gullible," and of "below-

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average sophistication or intelligence," Pinson v. JPMorgan Chase Bank, Nat'l

Ass'n, No. 16-17107, 2019 U.S. App. LEXIS 33662, at 12-13 (11th Cir. Nov. 12,

2019), quoting Clomon v. Jackson, 988 F.2d 1314, 1318 (2nd Cir. 1993).

       35.       A false representation in connection with the collection of a debt is

sufficient to violate the FDCPA, even if it is not alleged or proven to be misleading

or deceptive.

       36.       Defendant made false representations about the amount of the debt and

threatened to charge unauthorized fees and interest and report those unauthorized

charges to Plaintiff’s credit report.

       37.       Defendant’s communications were in violation of 15 U.S.C. §§ 1692e,

e(2)(A), e(5), e(8), and e(10) among others.

Violations of 15 U.SC. § 1692f and its subparts

       38.       The conduct of the Defendant as described herein was unfair and

unconscionable. It preyed upon perceived weaknesses/fear/lack of sophistication of

the Plaintiff.

       39.       Defendant’s threats to collect interest and fees unauthorized by the

agreement which created the debt were unfair and unconscionable.

       40.       Defendant’s behavior violated 15 U.S.C. § 1692f and f(1).




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      41.    As a result of Defendant’s violations of the FDCPA, Defendant is liable

to Plaintiffs for actual damages as described herein, statutory damages in the amount

of $1,000.00, costs of this action and reasonable attorney’s fees as determined by the

Court as mandated by 15 U.S.C. § 1692k.

                                     COUNT II

  VIOLATIONS OF THE GEORGIA FAIR BUSINESS PRACTICES ACT

                           O.C.G.A. § 10-1-390, et seq.

      42.    Plaintiff incorporates by reference paragraphs 1 through 41 as though

fully stated herein.

      43.    O.C.G.A. § 10-1-390 et seq. is commonly known as the "Fair Business

Practices Act of 1975" (the “GFBPA”).

      44.    The purpose of the GFBPA, is to protect consumers from unfair and/or

deceptive practices in the conduct of any trade or commerce in part or wholly in the

state. O.C.G.A. § 10-1-391.

      45.    O.C.G.A. § 10-1-391 directs that the GFPBA is to be interpreted and

applied liberally and in harmony with the Federal Trade Commission Act, 15 U.S.C.

§ 45(a)(1), which implements the FDCPA.

      46.    O.C.G.A. § 10-1-393(a) of the GFBPA broadly prohibits unfair and/or

deceptive business practices.

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      47.      Defendant intentionally engaged in unfair and deceptive business

practices, as set forth herein, in an effort to collect a consumer debt.

      48.      Defendant’s conduct has implications for the consuming public in

general.

      49.      Defendant’s conduct negatively impacts the consumer marketplace.

      50.      Collecting a debt incurred during a consumer transaction could harm

the general consuming public if conducted via deceptive acts or practices and clearly

falls within the parameters of the GFBPA. Thus, a violation of the FDCPA

constitutes a violation of the GFBPA. See 1st Nationwide Collection Agency, Inc. v.

Werner, 288 Ga. App. 457, 459 (2007).

      51.      Upon information and belief, Defendant does not maintain a place of

business in Georgia and has no assets in Georgia, thus relieving Plaintiffs of the

Notice and Demand requirements of O.C.G.A. § 10-1-399(b).

      52.      As a result of Defendant’s violations of O.C.G.A. § 10-1-393(a),

Plaintiff is entitled to recover general damages pursuant to O.C.G.A. § 10-1-399(a).

      53.      As a result of Defendant’s intentional violations of O.C.G.A. § 10-1-

393(a), Plaintiff is entitled to recover exemplary damages pursuant to O.C.G.A. §

10-1-399(a).




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        54.      As a result of Defendant’s intentional violations of O.C.G.A. § 10-1-

393(a), Plaintiff is entitled to recover treble damages pursuant to O.C.G.A. § 10-1-

399(c).

        55.      Plaintiff is entitled to recover reasonable attorney’s fees and expenses

of litigation pursuant to O.C.G.A. § 10-1-399(d).

                                         TRIAL BY JURY

        56.      Plaintiff is entitled to and hereby requests a trial by jury.

        WHEREFORE, Plaintiff prays that judgment be entered against Defendant

for:

a.)     Plaintiff’s actual damages;

b.)     Statutory damages pursuant to 15 U.S.C. § 1692k;

c.)     Reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k

d.)     General, exemplary, and treble damages pursuant to O.C.G.A. § 10-1-399(a)

        & (c);

e.)     Reasonable attorney’s fees and costs pursuant to O.C.G.A. § 10-1-399(d);

        and

f.)     Such other and further relief as may be just and proper.

        Respectfully submitted this 22nd day of September, 2020.


                                           BERRY & ASSOCIATES
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